         Case 6:25-cv-06043-SOH                            Document 2                   Filed 05/05/25        Page 1 of 1 PageID #: 27
N otice and C onsent — Exercise of Jurisdiction by a U nited States M agistrate Judge              W D /A R        FA Y


                                                  U NITED S TATES D ISTRICT C OURT
                 Western                                                     District of                            Arkansas

                                                                                    NOTICE AND CONSENT —
Darla Buchanan                                                                      EXERCISE OF JURISDICTION BY A UNITED STATES
                             Plaintiff                                              MAGISTRATE JUDGE
                                V.
                                                                                    Case Number:        6:25-cv-6043
Parole Officer Zimmerman, et al
                            Defendant



                    N OTICE OF A VAILABILITY OF A U NITED S TATES M AGISTRATE J UDGE
                                       TO E XERCISE J URISDICTION

         In accordance with the provisions of 28 U.S.C. §636(c), and Fed.R.Civ.P. 73, you are notified that a United States
magistrate judge of this district court is available to conduct any or all proceedings in this case including a jury or nonjury trial,
and to order the entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however, permitted only if all
parties voluntarily consent.
        You may, without adverse substantive consequences, withhold your consent, but this will prevent the court’s jurisdiction
from being exercised by a magistrate judge. If any party withholds consent, the identity of the parties consenting or withholding
consent will not be communicated to any magistrate judge or to the district judge to whom the case has been assigned.
         An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of appeals for
this judicial circuit in the same manner as an appeal from any other judgment of this district court.



  C ONSENT TO THE E XERCISE OF J URISDICTION BY A U NITED S TATES M AGISTRATE J UDGE

        In accordance with provisions of 28 U.S.C. §636(c) and Fed.R.Civ.P. 73, the parties in this case consent to have a United
States magistrate judge conduct any and all proceedings in this case, including the trial, order the entry of a final judgment, and
conduct all post-judgment proceedings.

                 Party Represented                                                         Signatures                            Date




                        Do not file this form electronically. Please return form with original signature(s) to:


                                                                United States District Clerk
                                                               35 East Mountain, Room 510
                                                               Fayetteville, Arkansas 72701
